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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    Case No. 3:20cr56-TKW

DONOVAN ELLIS
                                             /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the Chief United States

Magistrate Judge, to which there have been no timely objections, the plea of guilty

of the Defendant, DONOVAN ELLIS, to Counts Three, Five, and Six of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE AND ORDERED this 11th day of December 2020.

                                 T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
